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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
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UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                        THIRD AMENDED SCHEDULING ORDER

       Based on the parties’ Joint Status Reports, ECF Nos. 1161 & 1172, the court orders the

following with regard to further proceedings in this matter:

       A.      The parties shall complete fact witness depositions by March 7, 2025.

       B.      The parties shall exchange final witness lists by March 11, 2025.

       C.      The parties shall exchange opening deposition designations by March 21, 2025.

       D.      The parties shall exchange objections to the opening deposition designations and
               provide deposition counter-designations by March 28, 2025.

       E.      The parties shall move witnesses from live testimony to deposition designation and
               exchange opening deposition designations for such witnesses by April 1, 2025.

       F.      The parties shall exchange objections to the deposition counter-designations and
               exhibits by April 3, 2025.
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      G.     The parties shall exchange objections to the opening deposition designations and
             provide deposition counter-designations for witnesses moved from live testimony
             to deposition designation by April 7, 2025.

      H.     The parties shall meet and confer regarding exhibit and deposition objections on
             April 7 & 8, 2025.

      I.     By April 9, 2025, Plaintiffs shall provide the proposed order for all witnesses they
             may call live and the estimated time for their direct examination, and the parties
             shall exchange objections to the deposition counter-designations for witnesses
             moved from live testimony to deposition designation and file a Joint Pre-Hearing
             Statement. The Joint Pre-Hearing Statement is due by 3:00 PM and shall
             contain the following for each side: (1) a list of anticipated live witnesses identified
             by name, place of employment, and title; (2) a list of witnesses whose testimony
             will be offered as deposition designations identified by name, place of employment,
             and title; (3) a list of exhibits; and (4) any disputes regarding exhibits, deposition
             designations, confidentiality designations, and other matters. Any record or
             deposition excerpt as to which there is a dispute shall be delivered to chambers
             on a thumb drive by 3:00 PM.

      J.     A Pre-Hearing Conference is scheduled for April 10, 2025 at 10:00 AM in
             Courtroom 10.

      K.     By April 11, 2025, Google shall provide any presently known immovable
             conflicts for Google employees on Plaintiffs’ disclosure and identify the witnesses
             on Plaintiffs’ disclosure it expects to conduct a direct examination of and the
             estimated time for such examination. Google shall also provide the proposed order
             for all witnesses it may call live and the estimated time for their direct
             examination.

      L.     The parties shall file pre-hearing briefs of no more than 15 pages by April 14, 2025.

      M.     Beginning on April 16, 2025, and continuing through the end of the Evidentiary
             Hearing, the parties shall proceed as described in paragraph 4 of the court’s
             August 3, 2023 Order, ECF No. 625.

      All other deadlines remain in full force and effect.




Dated: February 19, 2025                                    Amit P. Mehta
                                                      United States District Judge




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